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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION

DAVENELL L. ASH                                                                    PLAINTIFF

V.                                                                NO.: 3:21-cv-00163-SA-JMV

OXFORD MISSISSIPPI POLICE DEPARTMENT AND
DESOTO COUNTY STATE PATROL                                                     DEFENDANTS

                ORDER ADOPTING REPORT AND RECOMMENDATIONS

       Upon consideration of the record of this case, the Court finds that the Report and

Recommendations (“R&R”) of the United States Magistrate Judge dated October 5, 2021, was on

that date duly filed; the parties were duly notified; more than fourteen days have elapsed since

notice of said R&R; and no objection thereto has been filed or served by any party. The Court is

of the opinion that the R&R should be approved and adopted as the opinion of the Court.
       It is, therefore, ORDERED:

       1. That the R&R of the United States Magistrate Judge dated October 5, 2021, is, hereby,

           approved and adopted as the opinion of the Court.

       2. That the Clerk is directed to CLOSE this case.

           SO ORDERED, this the 26th day of October, 2021.




                                                   /s/ Sharion Aycock
                                                   UNITED STATES DISTRICT JUDGE
